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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

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                                                      Chapter 11
    In Re:
                                                      Case No.: 21-30589(MBK)
    LTL MANAGEMENT, LLC,
                                                      Honorable Michael B. Kaplan
                                    Debtor.
                                                      Hearing: February 15, 2022, at 10:00 a.m,

                        MOTION OF THE OFFICIAL COMMITTEE OF
                  TALC CLAIMANTS TO DISMISS DEBTOR’S CHAPTER 11 CASE

             The Official Committee of Talc Claimants (the “Committee”) of LTL Management LLC,

(“LTL” or the “Debtor”), by and through its undersigned proposed counsel, respectfully moves to

dismiss the Debtor’s Chapter 11 case for cause, pursuant to Section 1112(b) of the Bankruptcy

Code (the “Motion”). In support of this Motion, the Committee respectfully states as follows:

                                    PRELIMINARY STATEMENT

             1.     Johnson & Johnson1 (“J&J”) created this Debtor on the eve of its bankruptcy filing

and initiated and prosecutes this Chapter 11 case for one purpose and one purpose alone—to

manage the litigation associated with J&J’s decades-long manufacture and sale of a carcinogenic


1
             Unless otherwise indicated, capitalized terms used herein but not defined shall have the
             meaning ascribed to them in the Declaration of John K. Kim in Support of First Day
             Pleadings [D.I. 5] (the “Kim Declaration”) or in the Informational Brief of LTL
             Management LLC [D.I. 3] (the “Debtor’s Information Brief”).
                                                     2
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product. J&J even went so far as to aptly identify this Debtor as a litigation management vehicle,

naming it “LTL Management”, an acronym for “Legacy Talc Litigation” management.

        2.      To accomplish this feat, J&J engineered a multi-step transactional scheme,

reorganizing its consumer products subsidiary under Texas law in order to take advantage of a

Texas statute designed to allow a company to divide itself into two (via a so-called divisive

merger). But, in reality, J&J’s divisive merger subverts the very Texas law upon which it relies.

The sole purpose of the merger was to hinder and delay talc claimants in the pursuit of their claims

by separating the liability for those claims from the assets backing such claims. This directly

contravenes Section 10.901 of the Texas Business Organizations Code, which protects creditors

from the abuse of divisive mergers to abridge their rights.

        3.      Make no mistake about it. The Debtor is a mere instrumentality of J&J. J&J

created, owns, and controls the Debtor. The purpose of LTL and of this bankruptcy has been

crystal clear from the outset: it is not to compensate creditors, but to protect J&J and its other

valuable non-debtor affiliates. Specifically, this case was filed to shield J&J from liability for the

production, marketing, and sale of carcinogenic products for decades, and to remove its valuable

operating assets from the reach of a single group of creditors (the talc claimants). All of this, of

course, without J&J and its operating entities having to subject themselves, and their assets, to the

transparency and scrutiny of Chapter 11.

        4.      This is not what Chapter 11 is for. The purpose of Chapter 11, and of the powers

and benefits granted by the statute, is “to further a valid reorganizational purpose.” In re SGL

Carbon Corp., 200 F.3d 154, 165 (3d Cir. 1999). This Debtor has no such purpose. It is a dummy

entity with facially inadequate capitalization created only to purge all of J&J’s and Old JJCI’s

massive talc-related tort liability, all in order to hinder and delay injured talc creditors, and indeed
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injured talc creditors only, from accessing J&J’s assets and providing J&J with a section 524(g)

channeling injunction and a section 105 stay against present and future talc claims. Moreover, J&J

incorporated this dummy entity in North Carolina, a state in which it had no contact and no

business until a month ago, in order to game the bankruptcy system and take advantage of the

Fourth Circuit’s test for bad faith dismissal (which is one of the most stringent in the country).

       5.       Chapter 11 is intended to give reorganizing debtors a fresh start. But this Debtor

has no need for a fresh start: it was barely two days old. It has no business, no operations, no

employees, no funded debt, and no assets (except those set up for the purpose of manufacturing

venue in North Carolina). LTL has, admittedly and from the start, no desire or intention to achieve

a fresh start of its own. To the contrary, J&J caused LTL to file for bankruptcy solely in order to

use the automatic stay and other provisions of Chapter 11 to summarily destroy the legitimate

rights and interests of tort victims, many of whom are dying while J&J pursues this illicit

bankruptcy filing.

       6.      Johnson & Johnson has a better credit rating than the United States of America. At

the moment of the divisive merger in this case, it had approximately $31 billion in cash on its

balance sheet, and it has a market cap of approximately a half-trillion dollars. Nevertheless, when

it purported to push its many billions of dollars of talcum powder-related liabilities into LTL, its

litigation management vehicle, it funded that anemic entity with a mere $6 million in cash2 and an




2
       On November 24, 2021, the Debtor filed its Monthly Operating Report [D.I. 548]. That
       report includes a bank account statement showing that the $6 million is in a JJCI bank
       account. Nearly six weeks after the Petition Date, the Debtor claims that it is “in the
       process of updating the bank account information to reflect the Debtor’s name.” Global
       Notes and Statements of Limitations and Disclaimers Regarding the Debtor’s Monthly
       Operating Report at ¶ 8.
                                              4
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unrelated royalty stream supposedly worth $375 million, and an illusory contract right under a

funding agreement.

        7.      This bankruptcy case was not filed in good faith. It serves no legitimate purpose.

It was designed to provide a litigation advantage for non-debtors. It serves only to deprive a single

group of creditors of the full panoply of assets backing their claims, rather than making the full

range of an entity’s assets open and available for fair distribution to all creditors. It seeks to

manipulate Texas law and the Bankruptcy Code for the sole purpose of discharging the Debtor’s

large and healthy non-debtor affiliates of direct and indirect tort liability, liability that J&J has

admitted it was financially capable of paying. And, worse still, it makes dying cancer victims,

even those with a judgment, scratch, claw, and fight, potentially for years, to be compensated from

funds that would have been available to those creditors just two days before the filing.

        8.      Simply put, J&J, the Debtor, and its non-debtor affiliates seek to exploit Chapter

11 to deprive tens of thousands of individuals suffering from ovarian cancer and mesothelioma

due to J&J’s products their day in front of a jury.

        9.       As described in more detail below, despite J&J’s scheme to have this case proceed

under the Fourth Circuit’s test for bad faith dismissal, this is a textbook case for bad faith dismissal

under applicable law in the Third Circuit. LTL’s bankruptcy should be dismissed in order to avoid

further harm and delay to talc claimants, which they can ill afford, and to permit them to exercise

their jury trial rights against J&J and the rest of the Debtor’s non-debtor affiliates benefiting from

this ploy.

        10.     The world is watching this case. In light of J&J’s literal corporate shell game

(including the Texas Two-Step and the state incorporation change) certain Members of Congress

sent a letter to Alex Gorsky, J&J’s Chairman and CEO objecting to “Johnson & Johnson’s efforts
                                                   5
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to manipulate bankruptcy laws to evade accountability for any harm caused by [its] products” and

noting that “[e]xploitation of the bankruptcy system by large companies to avoid accountability is

unsurprising, but it is also unacceptable.”3

       11.     As these Members of Congress recognized, J&J’s attempt to escape the scrutiny of

American juries perverts the bankruptcy system. Indeed, if LTL’s bankruptcy case is permitted to

proceed, the floodgates would open for any company subject to mass tort litigation to slough off

its responsibility via a Texas Two-Step and subsequent bankruptcy of the new subsidiary.

Plaintiffs would no longer be able to rely on the tort litigation system, but would, even after having

litigated for years, be subject to the shell game J&J is attempting here. This would abridge

fundamental individual rights. The Debtor’s bankruptcy case should therefore be dismissed.

                                 JURISDICTION AND VENUE

       12.     The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 1334 and

157(b)(2) and the Amended Standing Order of Reference from the United States District Court for

the District of New Jersey, dated September 18, 2012. Venue is proper before this Court pursuant

to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and

the Court may enter a final order consistent with Article III of the United States Constitution. The

statutory basis for the relief requested herein is section 1112(b) of title 11 of the United States

Code (the “Bankruptcy Code”).




3
       Letter from Sen. Richard J. Durbin, Sen. Elizabeth Warren, Sen. Richard Blumenthal, Rep.
       Carolyn B. Maloney, and Rep. Raja Krishnamoorthi to Alex Gorsky (Nov. 10, 2021),
       available           at           https://www.durbin.senate.gov/imo/media/doc/2021-11-
       10%20Letter%20from%20Senators%20and%20Members%20of%20Congress%20to%20
       Mr.%20Gorsky.pdf.
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                          RELEVANT FACTUAL BACKGROUND

       13.     The factual background for this Motion can be found in the Initial Statement of

Official Committee of Talc Claimants Respecting Chapter 11 Case (the “Committee Initial

Statement”) [D.I. 495], which is incorporated herein. For the Court’s convenience, the Committee

summarizes particularly relevant facts here.

I.     J&J Has Direct And Derivative Liability For Talc-Related Claims.

       14.     With no hint of the open and honest disclosures expected in a Chapter 11 case, the

Debtor incorrectly proclaims that there is “no scientific or other proof that Johnson’s Baby Powder

either contained asbestos or was a cause of ovarian cancer or mesothelioma.” Debtor’s Emergency

Motion to Enforce the Automatic Stay Against Talc Claimants Who Seek to Pursue Claims Against

the Debtor and its Non-Debtor Affiliates [D.I. 44] at ¶ 23. Johnson & Johnson’s own internal

documents belie LTL’s proclamation. In recent years, J&J has been compelled for the first time

to produce particularly sensitive documents in discovery. These documents show that, for decades,

J&J knew that its products sometimes tested positive for carcinogens, expressed concern with the

issue, and intentionally failed to warn regulators and the public of the carcinogenic nature of its

talcum powder products. See Girion, Lisa, Johnson & Johnson Knew for Decades that Asbestos

Lurked in its Baby Powder, Reuters, Dec. 14, 2018.

       15.     Federal and State court judges across America that have permitted tort claims

against Old JJCI and J&J to go to jury verdict obviously disagree with the Debtor’s proclamation.

These include both Chief Judge Freda Wolfson of the District of New Jersey, who presides over

the Multi-District Litigation (the “MDL”)4 (see In re Johnson & Johnson, 509 F. Supp. 3d 116 (D.



4
       In re Johnson & Johnson Talcum Powder Prods. Liability Litig., MDL 2738 (D. N.J.).
                                           7
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N.J. 2019)), and the Appellate Division of the State of New Jersey (see Carl v. Johnson & Johnson,

237 A.3d 308 (N.J. Super. Ct. 2020); Barden v. Brenntag North America, et al., No. MID-L-1809-

17 (N.J. Super. Ct July 24, 2020). Other appellate courts that have passed on these cases likewise

disagree. See, e.g., Ingham v. Johnson & Johnson, 608 S.W.3d 663, 724 (Mo. App. 2020), cert.

denied, 141 S. Ct. 2716 (June 1, 2021) (affirming a jury verdict finding: (i) Old JJCI liable for

$500 million in actual damages; (ii) J&J liable for $125 million in actual damages; and (iii) $1.6

billion in aggregate punitive damages, with a greater amount imposed on J&J in part because of

its “reprehensible conduct of its own” above and beyond that of Old JJCI).

       16.     Multiple scientific studies, conducted over decades by dozens of independent

researchers, have repeatedly found (i) that samples of Johnson’s Baby Powder and Shower to

Shower contained amphibole asbestos and fibrous talc; (ii) that perineal or genital application of

talcum powder increases the risk of and can cause ovarian cancer; and (iii) that exposure to

asbestos-contaminated talcum powders can cause mesothelioma. See Committee Initial Statement

at ¶¶ 9-11.

       17.     J&J sought to have expert scientific testimony on these issues excluded in case after

case, and court after court has agreed with plaintiffs that there is sufficient reliable evidence to

submit the causation question to a jury. See, e.g., In re Johnson & Johnson, 509 F. Supp. 3d at

146 (Chief Judge Wolfson denying (in principal part) J&J’s Daubert motions in the MDL and

admitting plaintiffs’ expert testimony); Leavitt v. Johnson & Johnson, Nos. A157572, A159021,

2021 WL 3418410, at *8 (Cal. Ct. App. Aug. 5, 2021) (affirming jury verdict against J&J and

finding that the trial court did not abuse its discretion in admitting plaintiff’s expert testimony).

       18.     As a result, the tide of litigation relating to J&J’s talc liability has begun to shift.

Juries across the country have held Old JJCI liable for tortious conduct relating to its manufacture
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and sale of talcum-power products. Juries have found J&J itself directly liable for its own tortious

conduct relating to the sale of talcum-powder products. And juries in many cases have assessed

punitive damages against J&J and Old JJCI, respectively. Equally important, in this very District,

after Chief Judge Wolfson denied J&J’s Daubert motions, bellwether trials in the ovarian cancer

MDL proceeding were scheduled to begin in April 2022.

       19.     Having been unable to persuade state and federal trial courts and the MDL to

exclude plaintiffs’ expert causation evidence, and having exhausted their appellate remedies, this

contrived bankruptcy is J&J’s last-ditch effort to escape from litigating its liability in the tort

system.

       20.     This is a massive turn in decision-making at Johnson & Johnson. Just over a year

ago in connection with the Chapter 11 cases of its talc supplier, Imerys Talc America, Inc.

(“Imerys”)5, J&J moved for relief from the automatic stay to continue litigating in the tort system,

stating unequivocally that “J&J, of course, has the financial wherewithal to defend these claims

and satisfy any successful talc claim in full”6 and, in a subsequent pleading, that it “prefers to

defend the safety of its products (and the core causation issues) in open court.”7


5
       Imerys, which is much smaller than J&J, did not perform a “Texas Two-Step” prior to its
       filing.
6
       See In re Imerys Talc America, Inc. et al., Case No. 19-10289 (Bankr. D. Del. Mar. 20,
       2020) (LSS), Johnson & Johnson’s Motion Pursuant to 11 U.S.C. § 362(d)(1), Fed. R.
       Bankr. P. 4001, and Local Bankruptcy Rule 4001-1 for Entry of Order Modifying the
       Automatic Stay to Permit J&J to Send Notice Assuming Defense of Certain Talc Claims
       and Implement Talc Litigation Protocol [D.I. 1567] at ¶¶ 4, 41, 45.
7
       See In re Imerys Talc America, Inc. et al., Case No. 19-10289 (Bankr. D. Del. May 19,
       2020) (LSS), Johnson & Johnson’s Omnibus Reply in Support of J&J’s Motion for Entry
       of Order Modifying Automatic Stay to Implement Talc Litigation Protocol [D.I. 1769] at
       ¶¶ 2-4.

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         21.     J&J’s sudden and recent flipflop away from the tort system and into the bankruptcy

 court is itself evidence of bad faith.

 II.     J&J Created LTL as a Special Purpose
         Vehicle to Shelter Itself From Derivative Talc Liability.

         22.     J&J formed LTL on October 12, 2021, approximately 48 hours before its Petition

 Date, by a divisive merger under Texas law. Kim Decl. at ¶ 16. The so-called “Texas Two-Step”

 by which J&J created the Debtor is summarized in the Kim Declaration (¶¶ 21-25): in brief, J&J

 terminated the corporate existence of Old JJCI, created six different corporate entities over a forty-

 eight-hour period to take advantage of the Texas divisive merger statute and wind up with a North

 Carolina-organized debtor. It was ultimately left with (i) LTL as the “BadCo,” which succeeded

 to all of Old JJCI’s talc-related liabilities, along with certain limited assets, including ownership

 of Royalty A&M (allegedly valued at $367.1 million), a bank account holding $6 million, and

 rights under the Funding Agreement; and (ii) New JJCI as the “GoodCo,” which succeeded to Old

 JJCI’s other, far more valuable assets and other liabilities, including those related to “a broad range

 of products used in the baby care, beauty, oral care, wound care and women’s health care fields,

 as well as over-the-counter pharmaceutical products.” Kim Decl. at ¶¶ 19, 23.

         23.     The Debtor falsely claims that the Funding Agreement “ensure[s] that [LTL] has at

 least the same, if not greater, ability to fund talc-related claims and other liabilities as Old JJCI had

 before the restructuring” (Kim Decl. at ¶ 26). Rather, the Funding Agreement obligates J&J and

 New JJCI to fund LTL up to the value of Old JJCI as of the date of the divisive merger. See

 Funding Agreement8 at § 1 (definition of “JJCI Value”). J&J and JJCI thus replace operating



 8
         The Funding Agreement was filed at Annex 2 to the Kim Declaration.

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 businesses (which have historically increased in value) with an amorphous, artificially capped

 contract right, the value of which would take years to adjudicate. And that litigation only ripens

 when J&J and New JJCI refuse to make payments under the Funding Agreement. See id. at § 2(a)

 (“The JJCI Value shall be calculated at, and only at, any date on which (x) the Payors refuse to

 make a requested Payment under this Agreement…” (emphasis added)). In other words, a tort

 claimant in possession of a judgment against LTL cannot enforce that judgment on assets held by

 LTL: instead, it must request that LTL (controlled by J&J) demand payment from J&J or New

 JJCI. If they refuse, the claimant must wait on LTL to litigate for that funding. Moreover, at

 present, J&J’s and New JJCI’s obligations to provide financing under the Funding Agreement are

 likely “financial accommodations,” as such term is used in section 365(c) of the Bankruptcy Code,

 and are therefore unenforceable by the Debtor against J&J or New JJCI absent further order of the

 Court or a different agreement from J&J and New JJCI.             Talc claimants have thus been

 intentionally rendered worse off than they were prior to the divisional merger, an outcome

 prohibited by the statute. See Aldrich Pump LLC v. Parties to Actions Listed on Appendix A to

 Complaint (In re Aldrich Pump LLC), Adv. No. 20-03041 (JCW), 2021 WL 3729335, at *27 &

 n.220 (Bankr. W.D.N.C. Aug. 23, 2021) (quoting Tex. Bus. Orgs. Code § 10.901 and noting that

 “[f]or while the TBOC permits a company to engage in a divisional merger, it does not permit that

 company to thereby prejudice its creditors.”).

 III.   LTL Exploited The Bankruptcy Process To Shelter J&J.

        24.     The second step of J&J’s Texas Two-Step strategy was to cause LTL to file for

 Chapter 11 protection in the Western District of North Carolina, in an attempt, specifically, to take

 advantage of the Fourth Circuit’s stringent test for dismissal. See Order Transferring Case to

 District of New Jersey [D.I. 416] (the “Transfer Order”) at 10 (“[T]he Debtor’s actions indicate a
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 preference to file bankruptcy in this district, likely due to the Fourth Circuit’s two-prong dismissal

 standard . . . .”).

         25.      Immediately upon the commencement of its case, the Debtor began a campaign to

 halt all ongoing litigation against its non-debtor affiliates, including direct claims against J&J. On

 October 18, 2021, LTL filed the Debtor’s Emergency Motion to Enforce the Automatic Stay

 Against Talc Claimants Who Seek to Pursue Their Claims Against the Debtor and Non-Debtor

 Affiliates [D.I. 44] (the “Emergency Stay Motion”), seeking entry of interim and final orders

 applying the Section 362(a) automatic stay to all talc-related claims asserted against J&J and New

 JJCI. The Emergency Stay Motion entirely ignores the direct liability of J&J and JJCI, and states

 incorrectly that “the commencement or continuation of the talc claims against Old JJCI or J&J is

 for the purpose of liquidating and recovering claims against the Debtor.” Id. at 2. Just one day

 later, before its first-day hearing (and before the Debtor had been granted any injunctive relief),

 J&J filed a Form 8-K misrepresenting the automatic stay and preemptively announcing that “all

 pending cosmetic talc cases will be stayed” as a result of the Debtor’s filing (emphasis added).9

 Even before the North Carolina Court entered any injunctive relief, J&J filed notices of the

 automatic stay in courts across the country. This callous disregard for dying victims who in their

 final days seek justice and help in taking care of their families they soon will leave behind is truly

 beyond the pale.

         26.      The United States Bankruptcy Court for the Western District of North Carolina (the

 “North Carolina Court”) denied the Emergency Stay Motion and directed the Debtor to proceed


 9
         Johnson & Johnson Current Report on Form 8-K, filed on October 19, 2021, available at
         https://www.sec.gov/ix?doc=/Archives/edgar/data/200406/000020040621000067/jnj-
         20211019.htm.

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 by adversary proceeding10 and to file a complaint seeking the injunctive relief requested in the

 Emergency Stay Motion, and on October 21, LTL filed its complaint [Adv. D.I. 1] (the

 “Complaint”).    The Complaint seeks to stay all talc-related claims against 490 non-debtor

 affiliates, including J&J and New JJCI (along with retailers and insurers), and seeks a preliminary

 injunction and a temporary restraining order against talc claimants.

        27.      On November 12, 2021 (just two days after the North Carolina Court transferred

 the Chapter 11 case to this Court), J&J announced11 a plan to spin off its Consumer Health business

 (largely New JJCI) from J&J, creating additional barriers between tort claimants and the assets

 that should be available to satisfy their claims. This second spin-off also throws into question

 which of New JJCI and J&J should be the primary obligor under the Funding Agreement, which

 will likely lead to additional complications under the Funding Agreement.

                                     RELIEF REQUESTED

        28.      The LTL Chapter 11 case is not a legitimate good faith filing. The Official

 Committee seeks an order of this Court dismissing the Debtor’s Chapter 11 case, with prejudice,

 pursuant to Section 1112(b) of the Bankruptcy Code.




 10
        Adv. Pro. No. 21-03032. Pleadings and submissions filed in the preliminary injunction
        adversary proceeding shall be referenced as “Adv. D.I.” The Committee has asked the
        United States District Court for the District of New Jersey to withdraw the reference of the
        adversary proceeding.
 11
        Johnson & Johnson, Current Report on Form 8-K, filed on November 15, 2021, available
        at https://www.sec.gov/ix?doc=/Archives/edgar/data/200406/000020040621000072/jnj-
        20211115.htm.
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                                             ARGUMENT

 I.      The Chapter 11 Case Should Be Dismissed
         For Cause Because It Was Not Filed In Good Faith

         29.     Section 1112(b) of the Bankruptcy Code requires courts to convert or dismiss a

 Chapter 11 case, whichever is in the best interests of creditors and the estate, “for cause”, unless

 the court determines that appointment of a trustee or examiner is in the best interests of creditors

 and the estate. See 11 U.S.C. § 1112(b)(1). Bankruptcy Courts “have wide latitude in determining

 whether cause exists to convert or dismiss” a Chapter 11 case. In re NuGelt, Inc.,142 B.R. 661,

 665 (Bankr. D. Del. 1992).

         30.     The Third Circuit and other courts have overwhelmingly held that “a Chapter 11

 petition is subject to dismissal for ‘cause’ under 11 U.S.C. § 1112(b) unless it is filed in good faith.”

 In re SGL Carbon Corp., 200 F.3d at 162; see also Marsch v. Marsch (In re Marsch), 36 F.3d 825,

 828 (9th Cir. 1994); C-TC 9th Ave. P’ship v. Norton Co. (In re C-TC Ave. P’ship), 113 F.3d 1304,

 1311 (2d Cir. 1997); Carolin Corp. v. Miller, 886 F.2d 693, 698 (4th Cir. 1989). Once a party in

 interest has made allegations that a filing was not made in good faith, the burden shifts onto the debtor

 to establish that good faith exists. NMSBPCSLDHB, L.P. v. Integrated Telecom Express, Inc. (In re

 Integrated Telecom Express, Inc.), 384 F.3d 108, 118 (3d Cir. 2004), In re Cloudeeva, Inc., No. 14-

 24874, 2014 WL 6461514, at *4 (Bankr. D.N.J. Nov. 18, 2014).

         31.     Determining whether a petition for Chapter 11 was filed in good faith is a fact-

 specific undertaking and requires an examination of the totality of the facts and circumstances

 surrounding a debtor’s filing. In re SGL Carbon, 200 F.3d at 162. The focus of the inquiry is

 whether the petitioner sought “to achieve objectives outside the legitimate scope of the bankruptcy

 laws” when filing for protection under Chapter 11. Id. at 165 (citing In re Marsch, 36 F.3d at

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 828). The Third Circuit has focused on two primary questions, namely, (i) whether the petition

 was filed to obtain a tactical litigation advantage; and (ii) whether the petition serves a valid

 bankruptcy purpose. See 15375 Mem’l Corp. v. Bepco, L.P., 589 F.3d 605, 618 (3d Cir. 2009)

 (citing SGL Carbon Corp, 200 F.3d at 165). Other factors courts consider include improper pre-

 petition conduct and whether the debtor was formed immediately prepetition. See Primestone Inv.

 Partners L.P. v. Vornado PS, L.L.C. (In re Primestone Inv. Partners L.P.), 272 B.R. 554, 557-58

 (D. Del. 2002) (citing In re SGL Carbon, 200 F.3d at 165; In re Phoenix Piccadilly, Ltd., 849 F.2d

 1393, 1394-95 (11th Cir. 1988); In re SB Props., 185 B.R. 198, 205 (E.D. Pa. 1995)). “[N]o single

 factor is determinative of a lack of good faith in filing a petition.” In re Tiffany Square Assocs.,

 Ltd., 104 B.R. 438, 441 (Bankr. M.D. Fla. 1989). In evaluating whether the Texas Two-Step and

 the subsequent bankruptcy filing were undertaken in good faith, this Court should apply equitable

 principles, considering the fiduciary obligations of J&J. See Pepper v. Litton, 308 U.S. 295, 306-

 07 (1939) (“The essence of the test [for good faith of an insider transaction] is whether or not under

 all the circumstances the transaction carries the earmarks of an arm’s length bargain. If it does

 not, equity will set it aside.”).    Because each of the above factors exists and indisputably

 demonstrates that the case was not filed in good faith, it should be dismissed.

         A.      J&J Abused Texas Law When It Created
                 LTL Two Days Prior To The Petition Date.

         32.     As described above and in the Kim Declaration (see ¶¶ 22-25), J&J used the Texas

 divisive merger statute to bring the Debtor into existence via a series of transactions on October 11 and

 October 12, 2021, mere days before the Petition Date. That statute does not permit J&J to use it, as it

 was used here, as a device to disadvantage creditors or to curtail rights bestowed by state or federal

 law, including the Bankruptcy Code. See Tex. Bus. Orgs. Code § 10.901 (“This code does not …

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 abridge any right or rights of any creditor under existing laws.”); see also In re Aldrich Pump LLC,

 2021 WL 3729335, at *27 & n.220 (Bankr. W.D.N.C. Aug. 23, 2021) ( “[W]hile the TBOC permits

 a company to engage in a divisional merger, it does not permit that company to thereby prejudice

 its creditors.”); DBMP LLC v. Those Parties Listed on Appendix A to Complaint and John and

 Jane Does 1-1000 (In re DBMP LLC), Adv. No. 20-03004, 2021 WL 3552350, at *24 & n.160

 (Bankr. W.D.N.C. Aug. 11, 2021) (citing § 10.901 and noting that “[b]ut, while the TBOC permits

 a company to engage in a divisional merger, it does not permit that company to thereby prejudice

 its creditors.”).

         33.         Indeed, prejudicing tort claimants was the whole point of the Texas Two-Step. Prior

 to the divisive merger, a claimant that secured a tort judgment against Old JJCI12 could enforce that

 judgment on assets held by Old JJCI. Moreover, claims against J&J would be payable by J&J, which

 has a market cap of approximately half a trillion dollars. After the divisive merger, a claimant that

 secures a judgment against LTL (which is controlled by J&J) must first request that it demand payment

 from J&J or New JJCI. If they refuse, that claimant must wait on LTL to litigate for that funding. See

 Funding Agreement § 2(a) (“The JJCI Value shall be calculated at, and only at, any date on which (x)

 the Payors refuse to make a requested Payment under this Agreement . . .”) (emphasis added). And,

 under the Funding Agreement, claims against J&J are now capped at the value of New JJCI: J&J and

 Old JJCI are obligated to fund only up to the value of New JJCI as of the date of the divisive merger.

 See id. at § 1 (definition of “JJCI Value”). In other words, claimants are much worse off because they




 12
         As described herein, and in the Committee Initial Statement, tort victims also hold direct
         claims against J&J.

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 must rely on LTL (again, controlled by J&J) to litigate the valuation of New JJCI, and must await the

 outcome of that litigation, in order to be assured of payment.

         34.    The Texas statute does not truly let “GoodCo” (JJCI) off the hook for liabilities vested

 in “BadCo” (LTL): GoodCo, as surviving co-liable entity, remains secondarily liable.13 In order to

 attempt to ensure that tort claimants would have no recourse to JJCI assets, J&J added a transactional

 step: it “killed” Old JJCI by terminating its corporate existence, and incorporated a new entity that

 adopted the identical name, asset base, and profile as Old JJCI. New JJCI is, in every respect,

 GoodCo’s doppelganger, but purportedly without the secondary liability. J&J’s prepetition conduct

 does not accord with the intent of the Texas statute, and its failure to comply with the statute

 demonstrates a lack of good faith.14

         B.     The Debtor Filed Its Petition As A Litigation Tactic.

         35.    Filing a Chapter 11 petition merely to obtain tactical litigation advantages is not

 within “the legitimate scope of the bankruptcy laws.” Marsch, 36 F.3d at 828. As this Court has

 previously explained, “[g]enerally, where . . . the filing for relief under the Bankruptcy Code is

 intended to frustrate the legitimate efforts of creditors to enforce their rights against the debtor,

 dismissal for ‘cause’ is warranted.” In re Ravick Corp., 106 B.R. 834, 844 (Bankr. D.N.J. 1989).



 13
         Tex. Bus. Org. Code § 10.008(a)(4) (“[E]ach surviving or new domestic organization to
         which a liability or obligation is allocated under the plan of merger is the primary obligor
         for the liability or obligation, and, except as otherwise provided by the plan of merger or
         by law or contract, no other party to the merger, other than a surviving domestic entity or
         non-code organization liable or otherwise obligated at the time of the merger, and no
         other new domestic entity or non-code organization created under the plan of merger is
         liable for the debt or other obligation . . .”) (emphasis added).
 14
         J&J’s bad faith can be imputed to the Debtor because the Debtor has “acquiesced” to J&J’s
         strategy. In re Quigley Co., Inc., 437 B.R. 102, 127 n.32 (Bankr. S.D.N.Y. 2010).

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 Courts typically dismiss Chapter 11 petitions where such abuse of the bankruptcy system is

 evident. See Argus Grp. 1700, Inc. v. Steinman (In re Argus Grp. 1700, Inc.), 206 B.R. 757, 765-

 66 (E.D. Pa. 1997); Furness v. Lilienfield, 35 B.R. 1006, 1013 (D. Md. 1983) (“The Bankruptcy

 provisions are intended to benefit those in genuine financial distress. They are not intended to be

 used as a mechanism to orchestrate pending litigation.”).

        36.     In re SGL Carbon Corp. is a case in point. There, the debtor was sued by steel

 producers for price fixing in a class action and in separate antitrust lawsuits. 200 F.3d at 156-57.

 Shortly thereafter, the debtor filed a bankruptcy petition and a proposed plan, which provided that

 all creditors would be paid in full except the antitrust claimants, and which barred any claimant

 from bringing action against non-debtor affiliates arising out of or in any way connected with the

 antitrust claims against the debtor. Id. at 157. The debtor explained that it filed “to protect itself

 against excessive demands made by plaintiffs in civil antitrust litigation and in order to achieve an

 expeditious resolution of the claims against it.” Id. The antitrust plaintiffs moved to dismiss the

 bankruptcy case as having been filed in bad faith, and the Delaware district court denied the

 motion. The Third Circuit reversed, remanding the case for dismissal as having been filed in bad

 faith and noting that the debtor’s officers had acknowledged that the filing was due to “the

 excessive demands [of litigants]” and the difficulties in reaching settlements of the antitrust




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 litigation, and that there was no evidence of the debtor’s need to reorganize or rehabilitate its

 business. Id. at 167.15

         37.      Here, as in In re SGL Corp., the Debtor admits that it “commenced this Chapter 11

 case to equitably and permanently resolve all current and future talc-related claims against it . . .

 .” Complaint at ¶ 1. See also Supplemental Declaration of John K. Kim in Support of Debtor’s

 Complaint for Declaratory and Injunctive Relief and Related Motions [Adv. D.I. 3] (the “Supplemental

 Kim Declaration”) at ¶ 18 (goal of “reorganizing” is to address talc claims against “Protected Parties”

 (as listed on Appendix B of the Complaint, including Old JJCI, non-debtor affiliates, indemnified

 parties, insurers, and retailers)).

         38.      The scheme to create LTL and have it file for bankruptcy to insulate J&J from talc

 liability is a dramatic reversal of course for J&J. Prior to the Supreme Court’s denial of certiorari with

 respect to the Ingham verdict, J&J assured the Imerys court that “J&J, of course, has the financial

 wherewithal to defend these claims and satisfy any successful talc claim in full.”16 Then, J&J

 demanded it be permitted to defend talc claims at trial because J&J “prefers to defend the safety of its




 15
         The Third Circuit rejected the debtor’s argument, also made by LTL, that the antitrust
         litigation would be a “harmful distraction of its management.” 200 F.3d at 167; see
         Supplemental Kim Decl. at ¶ 18. There was no evidence that the purported “distraction”
         related to the antitrust litigation harmed the company in any way, as the company was (and
         remained) financially healthy. Here, LTL conducts no business, and exists only as a
         vehicle to resolve talc claims. The resolution of talc claims is not a “distraction” to the
         Debtor’s management—rather, it is the only reason the Debtor exists at all.
 16
         See In re Imerys Talc America, Inc. et al., Case No. 19-10289 (Bankr. D. Del. Mar. 20,
         2020) (LSS), Johnson & Johnson’s Motion Pursuant to 11 U.S.C. § 362(d)(1), Fed. R.
         Bankr. P. 4001, and Local Bankruptcy Rule 4001-1 for Entry of Order Modifying the
         Automatic Stay to Permit J&J to Send Notice Assuming Defense of Certain Talc Claims
         and Implement Talc Litigation Protocol [Dkt. No. 1567], ¶¶ 4, 41, 45.

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 products (and the core causation issues) in open court.”17 Now, after it has exhausted its appellate

 remedies, the Debtor claims that “inconsistent and excessive awards”18in the MDL and by state

 courts and juries could exhaust “the assets available to pay current and future claimants.” Debtor’s

 Information Brief at 2. Now, the Debtor demands that the automatic stay apply not only to it, but

 to all the allegedly “Protected Parties.” Complaint at ¶ 2. In other words, the Debtor no longer

 likes its chances with American juries, and instead asks this Court to sit in lieu of factfinders across

 the country. This is not an appropriate use of the Bankruptcy Code.

         39.     Moreover, by staying all litigation against Old JJCI and J&J, the Debtor and J&J

 are using this Court to divest plaintiffs of their Seventh Amendment right to a jury trial. There is

 at minimum a serious constitutional question whether, under the principles recognized by the

 Supreme Court in Stern v. Marshall, 564 U.S. 462, 484 (2011); Granfinanciera, S.A. v. Nordberg,

 492 U.S. 33, 58-59 (1989); and Northern Pipeline Construction Co. v. Marathon Pipeline Co., 458

 U.S. 50, 52 (1982), an Article I judge may properly preside over litigation transferred to the

 bankruptcy court by virtue of a chapter 11 filing that serves no reorganizational purpose. The

 Third Circuit has reserved the question whether such a bankruptcy filing may vitiate the Seventh

 Amendment right to a jury trial. See In re SGL Carbon Corp., 200 F.3d at 169 n.23 (“Because we

 conclude SGL Carbon’s petition should be dismissed, we need not address the creditors’ argument

 that the failure to dismiss would deprive it of its Seventh Amendment right to try its antitrust claims



 17
         See In re Imerys Talc America, Inc. et al., Case No. 19-10289 (Bankr. D. Del. May 19,
         2020) (LSS), Johnson & Johnson’s Omnibus Reply in Support of J&J’s Motion for Entry
         of Order Modifying Automatic Stay to Implement Talc Litigation Protocol [Dkt. No. 1769],
         ¶¶ 2-4.
 18
         The Debtor, however, admits that “[a]pproximately 35,000 of [38,000 ovarian cancer
         claims] are pending in the MDL.” Debtor’s Information Brief at 124.
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 before a jury.”). The constitutional concerns are magnified by Congress’ express exclusion of “the

 liquidation or estimation of contingent or unliquidated personal injury tort or wrongful death

 claims against the estate for purposes of distribution in a case under title 11” from “core” claims.

 See 28 U.S.C. § 157(b)(2)(B).

        C.       There Is No Valid Reorganizational Purpose For This Bankruptcy.

               i.       LTL’s Creation Had No Legitimate Business
                        Purpose, And It Has No Business To Rehabilitate.

        40.      The purpose of bankruptcy is to give “to the honest but unfortunate debtor . . . a

 new opportunity in life and a clear field for future effort, unhampered by the pressure and

 discouragement of preexisting debt.” Local Loan Co. v. Hunt, 292 U.S. 234, 244 (1934); see

 Report of the Committee on the Judiciary, House of Representatives to Accompany H.R. 8200,

 H.R.Rep. No. 595 (1977), reprinted in 1978 U.S.C.C.A.N. 6179) (“The purpose of a business

 reorganization case, unlike a liquidation case, is to restructure a business’s finances so that it may

 continue to operate, provide its employees with jobs, pay its creditors, and produce a return for its

 stockholders.”). As the Fifth Circuit (affirmed by the Supreme Court) noted in Timbers of Inwood

 Forest, “when there is no reasonable likelihood that the statutory objective of reorganization can

 be realized . . . then the automatic stay and other statutory provisions designed to accomplish the

 reorganization objective become destructive of the legitimate rights and interests of creditors, the

 intended beneficiaries.” United Savs. Assoc. of Texas v. Timbers of Inwood Forest Assocs., Ltd.

 (In re Timbers of Inwood Forest Assocs., Ltd.), 808 F.2d 363, 373 (5th Cir. 1987) (en banc), aff’d,

 484 U.S. 365 (1988). A petition lacks good faith when it is filed without a “valid reorganizational

 purpose”:




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                 Chapter 11 vests petitioners with considerable powers - the automatic stay,
                 the exclusive right to propose a reorganization plan, the discharge of debts,
                 etc. - that can impose significant hardship on particular creditors. When
                 financially troubled petitioners seek a chance to remain in business, the
                 exercise of those powers is justified. But this is not so when a petitioner’s
                 aims lie outside those of the Bankruptcy Code…if a petitioner has no need
                 to rehabilitate or reorganize, its petition cannot serve the rehabilitative
                 purpose for which Chapter 11 was designed.

 In re SGL Carbon Corp., 200 F.3d at 164-66 (emphasis added).

         41.     This Chapter 11 case is not designed to serve any “valid reorganizational purpose.”

 As set forth in the Kim Declaration, the Debtor is a special-purpose bankruptcy vehicle with no

 business to reorganize. There are no jobs to save. There are no leases or contracts to reject. There

 is nothing to sell. There is no “creditor’s bargain”19 to preserve: there is no debt to restructure, no

 liens being primed, no cash collateral required, and no post-petition financing being granted. There

 is no rehabilitation to maximize value for creditors because there is no value to maximize.

 Furthermore, the divisive merger that created the Debtor had no legitimate business purpose,

 violated the creditor protection provisions of the Texas Business Organizations Code, and was

 intentionally done to, at a minimum, delay and hinder existing and future talc claimants. In sum,

 apart from enforcing the stay against itself, New JJCI, and J&J, there is nothing for the Debtor, or

 for this Court, to do in this case.




 19
         See Thomas H. Jackson, Bankruptcy, Non-Bankruptcy Entitlements, and the Creditors'
         Bargain, 91 YALE L.J. 857, 859-60 (1982) (bankruptcy is “a system designed to mirror the
         agreement one would expect the creditors to form among themselves were they able to
         negotiate such an agreement from an ex ante position.”).

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              ii.       The Protection Of J&J and New JJCI
                        Is Not A Valid Reorganizational Purpose For LTL.

        42.     As described above, LTL exists only as a litigation tool to wall off talc-related tort

 liability from its non-debtor affiliates. By engineering the Texas Two-Step and this bankruptcy

 case, J&J attempts to obtain the benefit of the automatic stay of talc claims against it, and a

 channeling injunction without having to subject itself to the scrutiny of the Chapter 11 process.

 Indeed, when questioned about why J&J did not file its own petition, in light of the litigation against

 it, Mr. Kim testified that “[w]e thought that this route was the preferable route” and that “we believe

 that according to the [Texas divisive merger statute] Johnson & Johnson would certainly be entitled to

 a stay, yes.” Nov. 4, 2021 Hr’g Tr. at 262:2-7; see also Transfer Order at 2 (“The Debtor maintains

 this restructuring was undertaken to enable the Debtor to fully resolve talc-related claims through a

 chapter 11 reorganization without subjecting the entire J&J enterprise to a bankruptcy proceeding.”).

        43.     When considering dismissal of a bankruptcy case, courts apply particular scrutiny

 to “asset-culled entities where ‘debtors have elected not to submit the actual entities in interest

 to the jurisdiction of the court, thereby isolating the entities in interest from the scrutiny and

 control of the court during proceedings.’” In re Eden Assocs., 13 B.R. 578, 584 (Bankr. S.D.N.Y.

 1981) (quoting In re Dutch Flat Inv., 6 B.R. 470, 471 (Bankr. N.D. Cal. 1980)) (emphasis added).

 In In re Quigley Co., 437 B.R. 102 (Bankr. S.D.N.Y 2010), the court found bad faith in such a

 circumstance. Quigley manufactured a product that contained asbestos. It was subsequently

 acquired by Pfizer, which started marketing Quigley’s product. As of Quigley’s petition date,

 hundreds of thousands of asbestos personal injury claims had been brought against Quigley and

 Pfizer (both derivative claims on account of Quigley products, and direct claims). Id. at 112. Pfizer

 caused Quigley to file for Chapter 11 in order to secure for itself a section 524(g) injunction. The

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 strategy didn’t work: the ad hoc committee of tort claimants and the United States trustee objected

 to confirmation and moved to dismiss the case. The court denied confirmation, in large part,

 because Pfizer did not act in good faith in proposing it:

                 [T]his is a Quigley bankruptcy in name only. Pfizer conceived and executed
                 the global strategy, including the resuscitation of the moribund Quigley and
                 the filing of the chapter 11 case . . . . Pfizer funded the chapter 11 . . . [and]
                 is also providing the bulk of the plan funding. The Fourth Plan . . . is
                 designed to free the Pfizer Protected Parties from derivative liability, and
                 only incidentally, to reorganize Quigley to the extent necessary to confirm
                 the Plan. Pfizer, the parent of Quigley, the architect of the global strategy,
                 the only source of chapter 11 and plan financing and the principal
                 beneficiary of the channeling injunction, is the real proponent of this plan.

 Id. at 126-27. Moreover, because “Quigley acquiesced in if not actively embraced Pfizer’s actions

 in connection with the prosecution of its chapter 11 case, . . . Pfizer’s bad faith may be attributed

 to Quigley as well.” Id. at 127 n.32.

         44.     As in Quigley, this is an LTL bankruptcy in name only. The true beneficiary of the

 case is J&J. As described in detail in the Committee Initial Statement, J&J (like Pfizer) had direct

 involvement in the sale, marketing, and safety of all talc-related products. In addition, J&J was

 directly involved in the production of talc, owned and operated (through a subsidiary) the mines

 that were the primary source of talc for J&J products for decades, and maintained control of all

 talc-related specifications. Additionally, J&J made all health and safety policy decisions with

 regard to asbestos and talc products. See Oct. 22, 2021 Hr’g Tr. at 88:4-9 (Q: “So, Mr. Kim, you

 assume that some decisions must be, must have been made elsewhere, but your corporate

 representative says all health and safety policy decisions with regard to asbestos and talc products

 were made by the parent company, Johnson & Johnson? Yes or no.” A: “That’s what he said,

 yes.”). J&J is thus directly liable for talc-related personal injury claims. Ingham, 68 S.W.3d at

 724 (affirming jury verdict finding J&J individually liable, separate and apart from Old JJCI, for actual
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 and punitive damages on account of its “reprehensible conduct.”). Like Pfizer, J&J assigned its

 liabilities to LTL and then caused its bankruptcy to seize the injunctive benefits of Chapter 11 for itself

 (which, the Debtor admits, are worth billions of dollars) without having to file its own petition. This

 is not a valid reorganizational purpose.

         45.     The Debtor disagrees, claiming that it intends to seek a channeling injunction “that

 will permanently protect the Debtor, its affiliates and certain other parties from further talc-related

 claims arising from products manufactured and/or sold by Old JJCI, or for which Old JJCI may

 otherwise have had legal responsibility, pursuant to sections 105(a) and/or 524(g) of the

 Bankruptcy Code.” Kim Decl. at ¶ 59 (emphasis added).20 In its Informational Brief (filed prior

 to the transfer of this Chapter 11 case to New Jersey), the Debtor cited to In re Bestwall, LLC, 605

 B.R. 43, 49 (Bankr. W.D.N.C. 2019) for the proposition that a channeling injunction resolving “all

 current and future cosmetic talc claims, while allowing New JJCI, J&J, and its affiliates to operate

 their businesses and continue to develop, manufacture, and distribute lifesaving therapies and

 devices . . . . is unquestionably a proper objective of a chapter 11 case.” Debtor’s Information

 Brief at 6.




 20
         On its face, the Funding Agreement does not require a section 105(a) injunction or a section
         524(g) channeling injunction. See Funding Agreement at §§ 1 (definition of “Permitted
         Funding Use”), 2 (“Funding Obligations and Procedures”). In reality, however, J&J has
         ensured that its obligations under the Funding Agreement will depend upon a channeling
         injunction and a trust. First, J&J controls the Debtor, and only the Debtor can propose a
         plan during the exclusivity period: presumably, any plan proposed by the Debtor would
         contain an injunction protecting J&J. Second, the Funding Agreement pays only to a plan
         trust, implying that broad plan injunctions will be conditions precedent to payment. This
         is a clear bait and switch by the Debtor and J&J solely to pass muster before the North
         Carolina Court, which is further evidence of bad faith.

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         46.     In Bestwall (where the debtor was represented by the same counsel that currently

 represents LTL, New JJCI, and J&J), the debtor was created through a Texas Two-Step, which

 vested the debtor with asbestos liability and certain assets, and the “NewCo” with all other assets

 and certain non-asbestos liabilities. 605 B.R. at 47. Pursuant to a funding agreement, the debtor

 could draw from NewCo the amount necessary to fund a section 524(g) trust. The official

 committee of asbestos claimants moved to dismiss the case as having been filed in bad faith. The

 court applied the Fourth Circuit’s standard for dismissal: there, a court may dismiss a petition as a

 bad faith filing only when the reorganization is both (i) objectively futile and (ii) filed in subjective

 bad faith.21 Id. at 48. The court held that the debtor’s chapter 11 petition was not “objectively

 futile” because “Bestwall has the ability to reorganize and establish a trust that meets each of the

 statutory requirements of section 524(g) of the Bankruptcy Code.” Id. at 49.

         47.     Now that the Debtor’s attempt to “manufactur[e] forum and creat[e] venue” has

 failed (see Transfer Order at 10), however, the Debtor can no longer rely on the Fourth Circuit’s

 standard for dismissal, which is “one of the most stringent articulated by the federal courts.” Id. at

 48, quoting In re Dunes Hotel Assocs., 188 B.R. 162, 168 (Bankr. D.S.C. 1995). Notably, the

 Fourth Circuit places the burden on the movant to demonstrate both objective futility and

 subjective bad faith by a preponderance of the evidence. 605 B.R. at 48 (citing In re SUD Props.,

 462 B.R. 547, 551 (Bankr. E.D.N.C. 2011)).

         48.     In the Third Circuit, however, the burden is on the debtor to establish that the filing

 was in good faith. In re Integrated Telecom Express, Inc., 384 F.3d at 118. Per the Kim Declaration,



 21
         As the North Carolina Bankruptcy Court noted, “the Debtor’s actions indicate a preference
         to file bankruptcy in this district, likely due to the Fourth Circuit’s two-prong dismissal
         standard . . . .” Transfer Order at 10.
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 the Debtor filed this Chapter 11 case to take advantage of a particular provision in the Bankruptcy

 Code, that is, the section 524(g) channeling injunction. The desire to use a particular provision in the

 Bankruptcy Code is insufficient by itself to establish good faith to survive dismissal, as the Third

 Circuit has held:

                 The Bankruptcy Court did not hold that Integrated’s desire to take
                 advantage of the § 502(b)(6) cap established good faith. Instead, the
                 Bankruptcy Court held that “it does not establish bad faith for a debtor to
                 file a chapter [11] case for the purpose of taking advantage of provisions
                 which alter pre-petition rights, including altering the rights of a landlord
                 under State law.” We agree. Indeed, we believe it to be a truism that it is
                 not bad faith to seek to avail oneself of a particular protection in the
                 Bankruptcy Code–Congress enacted such protections with the expectation
                 that they would be used. In re James Wilson Assocs., 965 F.2d 160, 170
                 (7th Cir.1992) (“It is not bad faith to seek to gain an advantage from
                 declaring bankruptcy–why else would one declare it?”) . . . The far more
                 relevant question is whether a desire to take advantage of a particular
                 provision in the Bankruptcy Code, standing alone, establishes good faith.
                 We hold that it does not.

 Id. at 127 (emphasis added).

         49.     In other words, the desire to use Section 524(g) is not by itself a “valid bankruptcy

 purpose” sufficient to establish good faith. LTL bears the burden of establishing good faith, and

 gesturing toward a channeling injunction is not sufficient.

         D.      Debtor’s And J&J’s Actions And Admissions Demonstrate Subjective Bad
                 Faith.

         50.     “While the good faith inquiry is more an objective analysis of whether the debtor has

 crossed the equitable limitations on bankruptcy filings, a debtor’s subjective intent may also be relevant

 in considering the totality of the circumstances.” In re Rent-A-Wreck of America, Inc., 580 B.R. 364,

 382 (Bankr. D. Del. 2018). Although discovery is underway, the following actions and admissions

 demonstrate subjective bad faith:



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             J&J improperly used the Texas Business Organizations Code’s divisive merger

              provisions to establish LTL for the purpose of hindering and delaying a single group

              of creditors for its own benefit.

             Just last year, J&J moved for relief from the automatic stay in the Imerys cases in order

              to continue litigating in the tort system, stating “J&J, of course, has the financial

              wherewithal to defend these claims and satisfy any successful talc claim in full.” See

              In re Imerys Talc America, Inc. et al., Case No. 19-10289 (Bankr. D. Del. Mar. 20,

              2020) (LSS), Johnson & Johnson’s Motion Pursuant to 11 U.S.C. § 362(d)(1), Fed.

              R. Bankr. P. 4001, and Local Bankruptcy Rule 4001-1 for Entry of Order Modifying

              the Automatic Stay to Permit J&J to Send Notice Assuming Defense of Certain Talc

              Claims and Implement Talc Litigation Protocol [D.I. 1567], ¶¶ 4, 41, 45.

              Subsequently, J&J reiterated its demand to defend talc claims against Imerys at trial

              because J&J “prefers to defend the safety of its products (and the core causation issues)

              in open court.” See In re Imerys Talc America, Inc. et al., Case No. 19-10289

              (Bankr. D. Del. May 19, 2020) (LSS), Johnson & Johnson’s Omnibus Reply in

              Support of J&J’s Motion for Entry of Order Modifying Automatic Stay to

              Implement Talc Litigation Protocol [D.I. 1769], ¶¶ 2-4. Now, after the Supreme

              Court refused to reconsider the Ingham verdict, the Debtor and J&J have changed their

              tune.

             J&J “killed” Old JJCI and “resurrected” an identical New JJCI to give the appearance

              that no surviving entity would remain to be secondarily liable on the liability assigned

              to LTL.

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             The Debtor misrepresents that the Funding Agreement “ensure[s] that [LTL] has at

              least the same, if not greater, ability to fund talc-related claims and other liabilities as

              Old JJCI had before the restructuring.” This is not accurate, as described above.

             The Debtor and J&J have repeatedly misrepresented the scope of the automatic stay,

              and the orders of the North Carolina Court in its securities filings and in the notices of

              automatic stay that the Debtor filed in courts around the country:

              o        On October 19, 2021, before its first-day hearing and before the Debtor had

                      applied for, let alone been granted, any injunctive relief, J&J filed a Form 8-K

                      misrepresenting the automatic stay and preemptively announcing that “all

                      pending cosmetic talc cases will be stayed” as a result of the Debtor’s filing.22

              o       As but one example of the Debtor’s and J&J’s misrepresentations, in

                      Mississippi v. Johnson & Johnson23, the Mississippi chancery court ordered

                      briefing on the applicability of the Debtor’s automatic stay to an action brought

                      by the Mississippi Attorney General against J&J. The Debtors and J&J filed a

                      Supplement to Reply in Support of Defendant’s Notice of Bankruptcy Filing, in

                      which they specifically represent that “the Bankruptcy court held the automatic

                      stay applied to prohibit the commencement or continuation of any action

                      seeking to hold LTL, Old JJCI, J&J and a number of other entities liable on

                      account of the Enjoined Talc Claims.” To the contrary, the North Carolina



 22
       Nov. 4, 2021 Hr’g Tr. at 269:6-270:9; Johnson & Johnson Current Report on Form 8-K, filed
       on October 19, 2021.
 23
       Case No. 25CH1:14-cv-01207 [Docket No. 393] (Miss. Ch. Nov. 26, 2021).
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                      Court’s Order Granting the Debtor’s Request for Preliminary Injunctive Relief

                      [Adv. D.I. 102] (at ¶ 7) expressly ruled that “governmental units . . . are not

                      Defendants in this proceeding. The relief granted herein . . . shall not apply to

                      restrict or enlarge the rights of the Debtor or any governmental unit under

                      applicable bankruptcy law and all such rights are hereby preserved.”

             The Debtor wrongfully contends that, as a result of the divisive merger, it alone bears

              the entirety of the liability for talc-related personal injury cases. See, e.g., Debtor’s

              Motion for an Order (I) Declaring that the Automatic Stay Applies to Certain Actions

              Against Non-Debtors or (II) Preliminarily Enjoining Such Actions and (III) Granting

              a Temporary Restraining Order Pending a Final Hearing [Adv. D.I. 2] at 13, 14

              (describing the “Debtor Talc Claims” by stating: “Old JJCI is responsible for all claims

              alleging that Johnson’s Baby Powder and other talc-containing products cause cancer

              or other disease” and that the “Debtor Talc Claims are asserted in virtually every case

              against both the Debtor and J&J . . . [and] seek to hold the Debtor and J&J jointly and

              severally liable for the Debtor Talc Claims.”). In fact, and as described in the

              Committee Initial Statement, juries have repeatedly found that J&J has individual and

              direct tort liability, separate and apart from Old JJCI. See, e.g., Ingham, 68 S.W.3d

              663.

             After this Chapter 11 case was transferred to less favorable (for J&J) venue, J&J

              announced a new plan to spin off its Consumer Health Business, creating additional

              delays and hurdles for tort claimants. See Johnson & Johnson, Current Report on Form

              8-K, filed on November 15, 2021. This spin-off throws into question which of New

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                 JJCI and J&J should be the primary obligor under the Funding Agreement, creating a

                 new delay and hindrance to payments under the Funding Agreement.

        E.       Equitable Principles Weigh In Favor Of Dismissal.

        51.      In determining that this Chapter 11 case was not filed in good faith, this Court may

 also apply “the principles and rules of equity jurisprudence.” See Pepper v. Litton, 308 U.S. at

 304. A controlling stockholder, such as J&J, is a fiduciary:

                 Their dealings with the corporation are subjected to rigorous scrutiny and
                 where any of their contracts or engagements with the corporation is
                 challenged the burden is on the director or stockholder not only to prove the
                 good faith of the transaction but also to show its inherent fairness from the
                 viewpoint of the corporation and those interested therein. The essence of
                 the test is whether or not under all the circumstances the transaction carries
                 the earmarks of an arm’s length bargain. If it does not, equity will set it
                 aside.

 Id. at 306-07 (citations omitted). In Pepper, the debtor’s insider used technically legal maneuvers

 (including filing its own claim) to thwart the claim of a judgment creditor. The district court,

 exercising its equitable powers as a court of bankruptcy, disallowed the insider’s claim on

 equitable grounds. The Supreme Court upheld that judgment, finding that “where on the facts the

 bankrupt has been used merely as a corporate pocket of the dominant stockholder”, id. at 309,

 disallowance of a claim on equitable grounds is appropriate.

        52.      LTL is the “corporate pocket” into which J&J has purported to deposit all of its and

 Old JJCI’s talc liability by means of the Texas Two-Step. J&J’s corporate machinations involved

 no arm’s-length negotiations or bargains, no independent directors or managers, and were done

 without consulting the talc claimants who are the only creditors being affected by these

 transactions.   Thus, when evaluating with “rigorous scrutiny” the facts and circumstances



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 surrounding the Texas Two-Step and LTL’s bankruptcy filing, the Court should apply equitable

 principles and conclude that this Chapter 11 case was not filed in good faith.

        II.     Dismissal Is In The Best Interests of Creditors.

        53.     Once cause is established, “a bankruptcy court shall convert a case to Chapter 7 or

 dismiss the case ‘unless the court determines that the appointment under section 1104(a) of a

 trustee or examiner is in the best interests of the creditors and the estate.’” In re Dr. R.C. Samanta

 Roy Inst. of Sci. Tech. Inc., 465 F. App’x 93, 96-97 (3d Cir. 2011) (quoting 11 U.S.C. §

 1112(b)(1)). Here, dismissal, rather than the appointment of a trustee or examiner, is in the best

 interest of the Debtor’s creditors, some of whom are literally dying as they wait to have their day

 in court.    The vast majority of claims against the Debtor, New JJCI, and J&J are being

 administered through the MDL, and Chief District Court Judge Freda L. Wolfson has overseen

 that proceeding for more than five years. Dismissal would ensure not only that creditors be able

 to see that proceeding (and other proceedings) through, but also that any tort claimant who secures

 a judgment against J&J or New JJCI can enforce that judgment on assets held by those companies

 without being subject to the roadblocks and limitations of the Funding Agreement.

        54.     Because LTL is merely a special purpose vehicle created days before the Chapter

 11 case was filed, for the purpose of sheltering its non-debtor affiliates, there is no benefit to be

 obtained by the appointment of an examiner or a trustee that could not also be served by dismissing

 the case. Given the short period of time in which LTL has existed, there is unlikely to be any role

 for an examiner. A trustee in this case would pursue estate claims against J&J and JJCI for the

 benefit of LTL’s creditors, but LTL’s creditors could pursue such claims on their own behalf if the

 case were dismissed.



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                                         CONCLUSION

        Based on the foregoing, the Committee respectfully requests that the Court dismiss the

 Debtor’s Chapter 11 case with prejudice, and grant such other and further relief as appropriate.



                                      Respectfully submitted,

                                          GENOVA BURNS, LLC


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